             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                        1:20-cv-00302-MR

WELLS FARGO BANK, N.A.,                         )
                                                )
                        Plaintiff,              )
                                                )     REPORT OF
v.                                              )     JUDICIAL
                                                )     SETTLEMENT
THE SOUTHEAST BIOFEEDBACK                       )     CONFERENCE
AND CLINICAL NEUROSCIENCE                       )
ASSOCIATION, URSZULA KLICH,                     )
ADRIANA STEFFENS, and                           )
SYLVIA WHITMIRE                                 )
                                                )
                      Defendants.               )
__________________________________              )

      The undersigned has been assigned to this matter for the purpose of

conducting a Judicial Settlement Conference

      A conference was conducted on Thursday, August 19, 2021 by video

conference. The conference was recessed, and the parties were directed to

continue their discussions privately. See Docs. 31 & 33.

      On October 22, 2021, Defendants The Southeast Biofeedback and

Clinical Neuroscience Association (“SBCNA”) and Dr. Urszula Klich (“Klich”)

filed a Status Report which advises that the “parties have not reached any

agreements, and given the lack of agreement on a potential escrow agent – a

seminal issue discussed during the parties’ settlement conference – it does not

seem likely” that resuming settlement discussions with the undersigned’s



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assistance would be productive. Doc. 34. SBCNA and Klich therefore represent

that “it may be prudent at this time that the settlement conference be declared

an impasse.” Id.

      The undersigned notes that while the parties were previously directed to

file joint notices advising of the status of their discussions, the two notices that

have been submitted have come from SBCNA and Klich and have not been

signed by Defendants Steffans and Whitmire.

      Nonetheless, from those filings, it does appear that all parties have been

participating in private settlement discussions while the conference has been

recessed.

      Considering the representations in the October 22, 2021 Status Report,

the undersigned declares an IMPASSE to the Judicial Settlement Conference.


                                    Signed: October 22, 2021




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